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                               UNITED STATES DISTRICT COURT
                                WESTERN DISTRICT OF TEXAS
                                  SAN ANTONIO DIVISION

DAVID GAMBOA, MARK MORGAN                               §
                                                        §
vs.                                                     §        NO: SA:21-CV-00387-OLG
                                                        §
XTO ENERGY, INC.                                        §

        RULE 41 JOINT STIPULATION OF DISMISSAL WITHOUT PREJUDICE

         Pursuant to Federal Rule of Civil Procedure 41(a), Plaintiffs and Defendants, by and through

their undersigned counsel, hereby stipulate the claims of David Gamboa and Mark Morgan may be

dismissed in their entirety without prejudice, with the parties to bear their own costs and attorneys’

fees. For purposes of arbitration only, Mr. Gamboa’s claims shall be tolled from April 15, 2021 (the

date he filed his Complaint in this action) through the date of any subsequent re-filing of his claims

through arbitration and Mr. Morgan’s claims shall be tolled from April 16, 2021 (the date he filed his

Notice of Consent to join in this action) through the date of any subsequent re-filing of his claims

through arbitration. The dismissals shall be effective upon filing of this joint stipulation.
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                                               Respectfully submitted,

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ATTORNEYS FOR PLAINTIFFS                              ATTORNEYS FOR DEFENDANT




                                 CERTIFICATE OF SERVICE

        I hereby certify that the foregoing document was served on all parties and/or their counsel of
record via the Court’s CM/ECF electronic filing system on December 6, 2021.


                                                  /s/ William R. Liles
                                                  William R. Liles




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